                                  WEIL, GOTSHAL & MANGES LLP
                              1   Richard W. Slack (pro hac vice)
                                  (richard.slack@weil.com)
                              2   Jessica Liou (pro hac vice)
                                  (jessica.liou@weil.com)
                              3
                                  Matthew Goren (pro hac vice)
                              4   (matthew.goren@weil.com)
                                  767 Fifth Avenue
                              5   New York, NY 10153-0119
                                  Tel: 212 310 8000
                              6   Fax: 212 310 8007

                              7   KELLER BENVENUTTI KIM LLP
                                  Jane Kim (#298192)
                              8   (jkim@kbkllp.com)
                                  David A. Taylor (#247433)
                              9   (dtaylor@kbkllp.com)
                                  Thomas B. Rupp (#278041)
                             10   (trupp@kbkllp.com)
                                  650 California Street, Suite 1900
                             11   San Francisco, CA 94108
Weil, Gotshal & Manges LLP




                                  Tel: 415 496 6723
                             12
 New York, NY 10153-0119




                                  Fax: 650 636 9251
      767 Fifth Avenue




                             13
                                  Attorneys for Debtors and Reorganized Debtors
                             14
                                                                  UNITED STATES BANKRUPTCY COURT
                             15                                   NORTHERN DISTRICT OF CALIFORNIA
                                                                       SAN FRANCISCO DIVISION
                             16

                             17                                                             Bankruptcy Case No. 19-30088 (DM)

                             18     In re:                                                  Chapter 11

                             19     PG&E CORPORATION,                                       (Lead Case) (Jointly Administered)

                             20              - and -                                        REORGANIZED DEBTORS’ TWENTY-FIFTH
                                                                                            SECURITIES CLAIMS OMNIBUS OBJECTION
                             21     PACIFIC GAS AND ELECTRIC COMPANY,                       (NOTEHOLDER SECURITIES CLAIMS)

                             22                                     Debtors.                Response Deadline:
                                                                                            September 19, 2023, 4:00 p.m. (PT)
                             23      Affects PG&E Corporation
                                     Affects Pacific Gas and Electric Company              Hearing Information If Timely Response Made:
                             24      Affects both Debtors                                  Date: October 3, 2023
                                                                                            Time: 10:00 a.m. (Pacific Time)
                             25     * All papers shall be filed in the Lead Case, No. 19-   Place: (Tele/Videoconference Appearances Only)
                                    30088 (DM).                                                    United States Bankruptcy Court
                             26                                                                    Courtroom 17, 16th Floor
                                                                                                   San Francisco, CA 94102
                             27

                             28

                              Case: 19-30088           Doc# 13969     Filed: 08/17/23       Entered: 08/17/23 12:02:03           Page 1
                                                                               of 7
                              1   TO: (A) THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY
                                  JUDGE; (B) THE OFFICE OF THE UNITED STATES TRUSTEE; (C) THE AFFECTED
                              2   CLAIMANTS; AND (D) OTHER PARTIES ENTITLED TO NOTICE:
                              3             PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as

                              4   debtors and reorganized debtors (collectively, the “Debtors” or the “Reorganized Debtors”) in the

                              5   above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby submit this omnibus objection

                              6   based on the release of claims by certain claimants (the “Objection”) to the proofs of claim identified in

                              7   the column headed “Released Noteholder Securities Claims” on Exhibit 1 annexed hereto (the

                              8   “Noteholder Securities Claims”). Contemporaneously herewith, the Reorganized Debtors submit the

                              9   Declaration of Angela Ferrante, dated August 17, 2023 (the “Ferrante Declaration”), in support of this

                             10   Objection.

                             11             The release provisions of the Plan and Confirmation Order (as defined herein) resolve the
Weil, Gotshal & Manges LLP




                             12   Noteholder Securities Claims1 filed by the holders of Utility Senior Note Claims (as defined in
 New York, NY 10153-0119
      767 Fifth Avenue




                             13   Section 1.245 of the Plan). The Plan expressly provides in Section 1.180 (the definition of “Releasing

                             14   Parties”) that the holders of “Utility Senior Note Claims” are Releasing Parties under the Plan. The

                             15   release set forth in Section 10.9(b) of the Plan and Paragraph 56 of the Confirmation Order (the “Plan

                             16   Release”), then expressly provide that these parties release the Debtors and Reorganized Debtors from

                             17   “any and all claims . . . based on or relating to . . . the purchase, sale or rescission of the purchase or sale

                             18   of any security of the Debtors . . . .” Thus, the Noteholder Securities Claims have been expressly

                             19   released under the Plan. Accordingly, all such claims should be expunged and disallowed, as requested

                             20   herein.

                             21
                                      I.    JURISDICTION
                             22
                                            This Court has jurisdiction over the Objection under 28 U.S.C. §§ 157 and 1334; the Order
                             23
                                  Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24 (N.D. Cal.); and
                             24
                                  Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District Court for the Northern
                             25

                             26   1
                                    The Noteholder Securities Claims are proofs of claims filed by holders of Utility Senior Notes (as
                                  defined in the Plan) for alleged rescission and/or damage claims arising from the purchase or sale or
                             27   rescission of Utility Senior Notes. § 1.245.
                             28

                              Case: 19-30088        Doc# 13969        Filed: 08/17/23     Entered: 08/17/23 12:02:03          Page 2
                                                                               of 7
                                                                                                                                           2




                              1   District of California (the “Bankruptcy Local Rules”). This matter is a core proceeding pursuant to

                              2   28 U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The

                              3   statutory predicates for the relief requested are section 502 of title 11 of the United States Code (the

                              4   “Bankruptcy Code”) and Rules 3003 and 3007 of the Federal Rules of Bankruptcy Procedure

                              5   (collectively, the “Bankruptcy Rules”).

                              6   II.    BACKGROUND

                              7          On January 29, 2019 (the “Petition Date”), the Debtors commenced with the Court voluntary

                              8   cases under chapter 11 of the Bankruptcy Code. On July 1, 2019, the Court entered an order setting a

                              9   bar date to file proofs of claim. See Order Pursuant to 11 U.S.C. §§ 502(b)(9) and 105(a), Fed. R.

                             10   Bankr. P. 2002, 3003(c)(3), 5005, and 9007, and L.B.R. 3003-1 (I) Establishing Deadline for Filing

                             11   Proofs of Claim, (II) Establishing the Form and Manner of Notice Thereof, and (III) Approving

                             12   Procedures for Providing Notice of Bar Date and Other Information to All Creditors and Potential
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13   Creditors [Docket No. 2806] (the “Bar Date Order”). The Bar Date Order set October 21, 2019 at
      767 Fifth Avenue




                             14   5:00 p.m. Pacific Time (the “Initial Bar Date”) as the deadline to file all proofs of claim (each, a “Proof

                             15   of Claim”) with respect to any prepetition claim (as defined in section 101(5) of the Bankruptcy Code).

                             16          On February 27, 2020, the Court entered an order extending the Initial Bar Date to April 16, 2020

                             17   solely with respect to certain claimants (their claims, the “Securities Claims”) who the Court determined

                             18   were “known creditors” that purchased or acquired certain of the Debtors’ publicly held debt and equity

                             19   securities during the period from April 29, 2015 through November 15, 2018, inclusive, and who

                             20   believed they may have claims against the Debtors under the securities laws for rescission or damages

                             21   arising out of their trading in those securities [Docket No. 5943].

                             22          By Order dated June 20, 2020 [Docket No. 8053] (the “Confirmation Order”), the Court

                             23   confirmed the Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated

                             24   June 19, 2020 (as may be further modified, amended or supplemented from time to time, and together

                             25   with any exhibits or scheduled thereto, the “Plan”). The Effective Date of the Plan occurred on July 1,

                             26   2020 (the “Effective Date”). See Docket No. 8252.

                             27

                             28

                              Case: 19-30088       Doc# 13969       Filed: 08/17/23     Entered: 08/17/23 12:02:03        Page 3
                                                                             of 7
                                                                                                                                          3




                              1 III.     RELIEF REQUESTED

                              2          The Reorganized Debtors file this Objection, pursuant to section 502 of the Bankruptcy Code,

                              3   Bankruptcy Rule 3007, and Bankruptcy Local Rule 3007-1, seeking entry of an order disallowing and

                              4   expunging the Noteholder Securities Claims.

                              5   IV.    Basis For the Objection

                              6          Bankruptcy Rule 3007(d) and the Securities Omnibus Objection Procedures govern omnibus

                              7   objections to Securities Claims in these Chapter 11 Cases. See Securities Claims Procedures Order,

                              8   Ex. A-3 ¶ I.C (incorporating Bankruptcy Rule 3007(d)). Pursuant to Paragraph I.C.4 of the Securities

                              9   Omnibus Objection Procedures (as well as Bankruptcy Rule 3007(d)), objections to more than one claim

                             10   may be joined if the objections are based on the grounds that the claims should be disallowed on some

                             11   common basis under applicable bankruptcy or non-bankruptcy law. Pursuant to Paragraph I.B of the

                             12   Securities Omnibus Objection Procedures, the Reorganized Debtors may object to up to 250 Securities
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13   Claims per Omnibus Objection.
      767 Fifth Avenue




                             14          This objection sets forth the straightforward application of the release set forth in the Plan and

                             15   Confirmation Order. There are two questions, both of which are answered by the plain language of the

                             16   Plan and Confirmation Order. First, are the holders of Utility Senior Note Claims in the Chapter 11

                             17   Cases “Releasing Parties” under the Plan such that they have granted the releases set forth in Section

                             18   10.9(b) of the Plan and ¶ 56 of the Confirmation Order? Second, does the scope of the release in Section

                             19   10.9(b) of the Plan and ¶ 56 of the Confirmation Order cover the Noteholder Securities Claims? The

                             20   answer to both questions is “yes.”

                             21          A. Holders of Utility Senior Note Claims are Releasing Parties

                             22          The claimants identified on Exhibit 1 are all holders of Utility Senior Notes as defined in Section

                             23   1.246 of the Plan. Each such claimant held such notes at the time of both the Petition Date and the

                             24   Effective Date. Each such claimant therefore was afforded the treatment of the Utility Senior Note

                             25   Claims under the Plan. Notably, pursuant to the Plan all Utility Senior Note Claims either have been

                             26   reinstated or are otherwise being paid in full, with pre- and post-petition interest.

                             27          Section 1.180 of the Plan defines the term “Releasing Parties” to include “(m) the holders of

                             28

                              Case: 19-30088       Doc# 13969        Filed: 08/17/23     Entered: 08/17/23 12:02:03       Page 4
                                                                              of 7
                                                                                                                                           4




                              1   Utility Senior Note Claims.” Utility Senior Note Claims are defined by the Plan as, “collectively, Utility

                              2   Impaired Senior Note Claims, Utility Reinstated Senior Note Claims, and Utility Short-Term Senior

                              3   Note Claims.” Plan § 1.245. Each of these is in turn very broadly defined as “any Claim arising under,

                              4   or related to” the specific senior debt instrument under which the specific type of note (Utility Impaired

                              5   Senior Note, Utility Reinstated Senior Note and Utility Short-Term Senior Notes) was issued and which

                              6   governs those notes. Plan §§ 1.227, 1.238, 1.250. All of the claimants on Exhibit 1 are holders of Utility

                              7   Senior Note Claims under the Plan and are “Releasing Parties.”

                              8          B. The Plan Release Expressly Covers Securities Claims

                              9          The Plan Release provides, in relevant part, that:

                             10
                                          [T]he Released Parties, are deemed forever released and discharged, to the
                             11           maximum extent permitted by law and unless barred by law, by the Releasing
                             12           Parties from any and all claims, interests, obligations, suits, judgments,
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                                          damages, demands, debts, rights, Causes of Action, losses, remedies, and liabilities
                             13           whatsoever, including any derivative claims, asserted or assertable on behalf of
      767 Fifth Avenue




                                          the Debtors, and any claims for breach of any fiduciary duty (or any similar duty),
                             14           whether known or unknown, foreseen or unforeseen, existing or hereinafter
                                          arising, in law, equity, or otherwise, that such holders or their affiliates (to the
                             15
                                          extent such affiliates can be bound) would have been legally entitled to assert in
                             16           their own right (whether individually or collectively) or on behalf of the holder of
                                          any Claim or Interest or other Entity, based on or relating to, or in any manner
                             17           arising from, in whole or in part, the Debtors, the Fires, the Chapter 11 Cases, the
                                          purchase, sale, or rescission of the purchase or sale of any Security of the
                             18           Debtors or the Reorganized Debtors, the subject matter of, or the transactions
                                          or events giving rise to, any Claim or Interest that is treated in the Plan . . . .
                             19

                             20          Plan § 10.9(b) (emphasis added). These provisions could not be clearer that they cover the
                             21   Noteholder Securities Claims. The Plan Release states that the Reorganized Debtors and Debtors are
                             22   released “by the Releasing Parties from any and all claims, interests, obligations, suits, judgments,
                             23   damages, demands, debts, rights, Causes of Action, losses, remedies, and liabilities whatsoever . . . based
                             24   on or relating to, or in any manner arising from . . . the purchase, sale, or rescission of the purchase or
                             25   sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
                             26   or events giving rise to, any Claim or Interest that is treated in the Plan.” Indeed, as this Court has
                             27   previously found, Section 10.9(b) does not have any “limitation on the extent and breadth of what has
                             28

                              Case: 19-30088       Doc# 13969       Filed: 08/17/23     Entered: 08/17/23 12:02:03        Page 5
                                                                             of 7
                                                                                                                                          5




                              1   been released.” In re PG&E Corp., No. 19-30088, 2020 WL 9211213, at *3 (Bankr. N.D. Cal. Oct. 22,

                              2   2020). As stated above, the Noteholder Securities Claims plainly fall within the broad purview of claims

                              3   released under the Plan and Confirmation Order.

                              4          In accordance with Paragraph I.E of the Securities Omnibus Objection Procedures, Exhibit 1

                              5   hereto provides the following information: (i) an alphabetized list of the Claimants whose Noteholder

                              6   Securities Claims are subject to this Objection; (ii) the claim numbers of the Noteholder Securities

                              7   Claims that are the subject of this Objection; (iii) the amount of the claim asserted in each Noteholder

                              8   Securities Claim, or a statement that the Noteholder Securities Claim seeks an unliquidated amount; and

                              9   (iv) the grounds for this Objection. The Reorganized Debtors will give notice to the holder(s) of each

                             10   of the Noteholder Securities Claims, the form of which satisfies the requirements set forth in Paragraph

                             11   I.F of the Securities Omnibus Objection Procedures.

                             12          The Reorganized Debtors and Kroll have reviewed the Noteholder Securities Claims. See
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13   Ferrante Decl. ¶ 2. Accordingly, the Reorganized Debtors submit that the Claimants identified in
      767 Fifth Avenue




                             14   Exhibit 1 have released their Claims against the Debtors and Reorganized Debtors.

                             15   V.     RESERVATION OF RIGHTS

                             16          The Reorganized Debtors hereby reserve the right to object, as applicable, in the future to any of

                             17   the Noteholder Securities Claims listed in this Objection on any ground not previously ruled upon, and

                             18   to amend, modify, or supplement this Objection to the extent an objection to a claim is not granted, and

                             19   to file other objections to any proofs of claim filed in these cases, including, without limitation,

                             20   objections as to the amounts asserted therein, or any other claims (filed or not) against the Debtors,

                             21   regardless of whether such claims are subject to this Objection. A separate notice and hearing will be

                             22   scheduled for any such objections. Should the grounds of objection specified herein be overruled, wholly

                             23   or in part, the Reorganized Debtors reserve the right to object to the Noteholder Securities Claims on

                             24   any other grounds. See Securities ADR Procedures Order, Ex. A-3 ¶ I.J.

                             25   VI.    NOTICE

                             26          Notice of this Objection will be provided to (i) holders of the Noteholder Securities Claims listed

                             27   in Exhibit 1; (ii) the Office of the U.S. Trustee for Region 17 (Attn: James L. Snyder, Esq. and Cameron

                             28

                              Case: 19-30088       Doc# 13969      Filed: 08/17/23      Entered: 08/17/23 12:02:03       Page 6
                                                                            of 7
                                                                                                                                          6




                              1   M. Gulden, Esq.); (iii) all counsel and parties receiving electronic notice through the Court’s electronic

                              2   case filing system; and (iv) those persons who have formally appeared in these Chapter 11 Cases and

                              3   requested service pursuant to Bankruptcy Rule 2002.

                              4          The Reorganized Debtors respectfully submit that no further notice is required. No previous

                              5   request for the relief sought herein has been made by the Reorganized Debtors to this or any other Court.

                              6          WHEREFORE the Reorganized Debtors respectfully request entry of an order (i) disallowing

                              7   and expunging the Noteholder Securities Claims listed on Exhibit 1 hereto, and (ii) granting such other

                              8   and further relief as the Court may deem just and appropriate.

                              9
                                  Dated: August 17, 2023                               WEIL, GOTSHAL & MANGES LLP
                             10                                                        KELLER BENVENUTTI KIM LLP
                             11
                                                                                       By: /s/ Richard W. Slack
                             12
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13                                                        Attorneys for Debtors and Reorganized Debtors
      767 Fifth Avenue




                             14

                             15

                             16

                             17

                             18

                             19

                             20

                             21

                             22

                             23

                             24

                             25

                             26

                             27

                             28

                              Case: 19-30088       Doc# 13969       Filed: 08/17/23    Entered: 08/17/23 12:02:03        Page 7
                                                                             of 7
